               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION
                    CASE NO.: 3:24-CR-136-KDB-SCR


 UNITED STATES OF AMERICA

                 v.

 PETER ANTHONY THOMAS



                      MOTION TO PERMIT TRAVEL TO THE
                        MIDDLE DISTRICT OF FLORIDA

      Now comes the Defendant, Peter Thomas, through counsel, and requests that

this Court permit him to travel to the Middle District of Florida between April 11,

2025, until April 13, 2025, for work. In support of this motion, the defense states:


      1. The defense has consulted the Government who has no objection to this

          Motion.

      2. The Defendant, Peter Thomas, is under the supervision of United States

          Probation and is permitted to travel between the Northern District of

          Georgia, the Southern District of Florida, and the Western District of North

          Carolina.

      3. Mr. Thomas is a public figure and paid to make appearances at events by

          event promoters.

      4. Mr. Thomas was engaged to appear at an event in Tampa, Florida on

          Friday, April 11, 2025. The promoter has purchased non-refundable tickets

          for this event, promoted Mr. Thomas’ appearance, and made substantial
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             deposits to the event venue. (See promotional materials attached as Exhibit

             A and ticketing arrangements attached as Exhibit B).

       5. Mr. Thomas was unaware that Tampa was not within the Southern District

             of Florida but is in the Middle District of Florida and which requires

             permission to travel.

       6. Appearing at events such as this scheduled event is part of Mr. Thomas’

             employment.

       7. Mr. Thomas has been compliant with all other terms of his supervision.

       8. As indicated in the travel documents attached, Mr. Thomas is scheduled to

             leave Atlanta on April 11, 2025, and return April 13, 2025.


       For the foregoing reasons, the Defense requests that this Honorable Court

permit Mr. Thomas to travel to the Middle District of Florida on April 11, 2025,

through April 13, 2025. All other conditions of Mr. Thomas’ supervision will remain

in effect.


                                          Respectfully submitted,

                                          /s/ C. Melissa Owen

                                          TIN FULTON WALKER & OWEN PLLC
                                          301 East Park Avenue
                                          Charlotte, NC 28203
                                          T: (704) 338-1220
                                          F: (704) 338-1312
                                          cmowen@tinfulton.com
                                          Counsel for Mr. Thomas




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